                   IN THE COURT OF APPEALS OF NORTH CAROLINA

                                      2021-NCCOA-347

                                       No. COA20-406

                                      Filed 20 July 2021

     New Hanover County, No. 18CVS2952

     LARRY POWELL AND ALL AMERICAN BAIL BONDING, LLC, A North Carolina
     Limited Liability Company, Plaintiffs,

                  v.

     MARK WAYNE CARTRET, Defendant.


           Appeal by the North Carolina Department of Insurance from order entered 4

     November 2019 by Judge W. Allen Cobb, Jr., in New Hanover County Superior Court.

     Heard in the Court of Appeals 11 May 2021.


           Attorney General Joshua H. Stein, by Special Deputy Attorney General Daniel
           Johnson, for Appellant North Carolina Department of Insurance.

           Law Offices of G. Grady Richardson, Jr., P.C., by G. Grady Richardson Jr. and
           Susan Renton, for Plaintiffs-Appellees.


           COLLINS, Judge.


¶1         The North Carolina Department of Insurance (“Department”) appeals from an

     order denying its motion to quash the subpoena of Larry Powell and All American

     Bail Bonding, LLC, (“Plaintiffs”) to produce documents and to testify at a Rule

     30(b)(6) deposition. The Department contends that the trial court’s order fails to

     comply with the plain language of N.C. Gen. Stat. §§ 58-10-430(c) and 58-30-62(f) and
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     erroneously orders the Department to release confidential documents.

                                      I.      Background

¶2         Plaintiffs filed a verified complaint on 20 August 2018 against Mark Wayne

     Cartret (“Defendant”) alleging breach of contract. Defendant filed an answer and

     counterclaims, alleging damages to himself and/or his company, Agent Associates

     Insurance, LLC, (“AAI”). Plaintiffs issued a subpoena to the Department on 22

     August 2019 to produce documents relating to Defendant and AAI, and to testify at

     a Rule 30(b)(6) deposition.     The Department timely served upon Plaintiffs an

     Objection and Motion to Quash Plaintiffs’ Subpoena and 30(b)(6) Deposition

     (“Motion”).   In its Motion, the Department argued that certain documents and

     information sought by the subpoena were confidential and could not be released,

     pursuant to numerous provisions in Chapter 58 of the North Carolina General

     Statutes, including, in relevant part, N.C. Gen. Stat §§ 58-10-430(c) and 58-30-62(f).

¶3         After a hearing on the Motion, the trial court entered an Order wherein it

     found, in relevant part:

                   9. None of the statutory provisions cited by the
                   [Department] in its Quash Motion under Chapter 58 of the
                   North Carolina General Statutes provide that records can
                   never be obtained from the [Department]. Rather, the
                   statutory provisions cited by the [Department] specifically
                   provide that records requested by subpoena that may fall
                   under Chapter 58 of the North Carolina General Statutes
                   shall be provided “upon an order of a court of competent
                   jurisdiction.”
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     The trial court concluded, in relevant part:

                  3. The records requested in Plaintiffs’ Subpoena may be
                  produced under Chapter 58 of the North Carolina General
                  Statutes “upon an order of a court of competent
                  jurisdiction,” notwithstanding assertions of statutory
                  confidentiality by the [Department] or alleged statutory
                  requirements that the information be kept confidential.

     The trial court ordered the Department to “produce full and complete records to

     Plaintiffs’ counsel pursuant to Plaintiffs’ Subpoena” within sixty days and to “submit

     to [Plaintiffs’] deposition pursuant to N.C. R. Civ. P. 30(b)(6)” within forty-five days

     of the date of production of the Department’s records.        The Department timely

     appealed “from those parts of the Order . . . that ordered the Department to disclose

     subpoenaed documents that are confidential under N.C. Gen. Stat. § 58-10-430(c) and

     N.C. Gen. Stat. § 58-30-62(f).”

                               II.     Appellate Jurisdiction

¶4         Plaintiffs moved to dismiss the Department’s appeal as the Order is

     interlocutory. The Department concedes the Order is interlocutory but argues that

     the Order affects a substantial right and is thus immediately appealable.

¶5         Interlocutory orders are those “made during the pendency of an action which

     do not dispose of the case, but instead leave it for further action by the trial court to

     settle and determine the entire controversy.” Carriker v. Carriker, 350 N.C. 71, 73,

     511 S.E.2d 2, 4 (1999) (citation omitted). Generally, there is no right to immediately
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     appeal an interlocutory order compelling discovery, and “an appeal will lie only from

     a final judgment.” Steele v. Moore-Flesher Hauling Co., 260 N.C. 486, 491, 133 S.E.2d

     197, 201 (1963) (citation omitted).

¶6         However, “immediate appeal is available from an interlocutory order or

     judgment which affects a ‘substantial right.’” Sharpe v. Worland, 351 N.C. 159, 162,

     522 S.E.2d 577, 579 (1999) (citations omitted); see N.C. Gen. Stat. §§ 1-277(a) and 7A-

     27(b)(3)(a) (2019). A two-part test is used to determine whether an interlocutory

     order affects a substantial right and is therefore immediately appealable. First, “the

     right itself must be substantial[,]” and second, “the deprivation of that substantial

     right must potentially work injury . . . if not corrected before appeal from final

     judgment.” Sharpe, 351 N.C. at 162, 522 S.E.2d at 579 (quotation marks and citation

     omitted).

¶7         The Department contends that the trial court’s order affected a substantial

     right because the Department was ordered to disclose documents that are

     confidential and not subject to disclosure, pursuant to N.C. Gen. Stat. § 58-10-430(c)

     and N.C. Gen. Stat. § 58-30-62(f). Indeed, if the Department is required to disclose

     the very documents that it alleges are protected from disclosure by the statutory

     confidentiality provisions, then “a right materially affecting those interests which [an

     entity] is entitled to have preserved and protected by law -- a substantial right -- is

     affected.” Id. at 164-65, 522 S.E.2d at 580-81 (quotation marks and citations omitted).
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     Moreover, the substantial right asserted by the Department will be lost if the trial

     court’s order is not reviewed before entry of a final judgment. See Lockwood v.

     McCaskill, 261 N.C. 754, 757, 136 S.E.2d 67, 69 (1964) (“If and when Dr. Wright is

     required to testify concerning privileged matters at a deposition hearing, eo instante

     the statutory privilege is destroyed. This fact precludes dismissal of the appeal as

     fragmentary and premature.”) Accordingly, the Order on appeal affects a substantial

     right; we deny Plaintiffs’ motion to dismiss and address the merits of the

     Department’s arguments.

                                III.   Standard of Review

¶8         Generally, a ruling on a motion to quash a subpoena is left to the sound

     discretion of the trial court and an order denying a motion to quash is reviewed only

     for an abuse of discretion. State v. Newell, 82 N.C. App. 707, 709, 348 S.E.2d 158,

     160 (1986). However, where, as here, an appeal presents a question of statutory

     interpretation, this Court conducts a de novo review of the trial court’s conclusions of

     law. Morgan v. Steiner, 173 N.C. App. 577, 579, 619 S.E.2d 516, 518 (2005) (citation

     omitted).

                                       IV.    Analysis

¶9         The Department argues that the trial court’s Order requiring disclosure of

     certain documents violates statutory confidentiality requirements established by the

     General Assembly. Specifically, the Department contends that N.C. Gen. Stat. §§ 58-
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       10-430(c) and 58-30-62(f) bar the disclosure of certain confidential documents.

¶ 10         “Legislative intent controls the meaning of a statute.” State v. James, 371 N.C.

       77, 87, 813 S.E.2d 195, 203 (2018) (quotation marks and citations omitted). The

       intent of the General Assembly may be found first from the plain language of the

       statute, then from the legislative history, “the spirit of the act and what the act seeks

       to accomplish.” Id. (quotation marks and citation omitted). As a cardinal principle

       of statutory interpretation, “[i]f the language of the statute is clear and is not

       ambiguous, we must conclude that the legislature intended the statute to be

       implemented according to the plain meaning of its terms.” Hyler v. GTE Prods. Co.,

       333 N.C. 258, 262, 425 S.E.2d 698, 701 (1993) (citation omitted).             “Thus, in

       effectuating legislative intent, it is the duty of the courts to give effect to the words

       actually used in a statute and not to delete words used or to insert words not used.”

       State v. Watterson, 198 N.C. App. 500, 505, 679 S.E.2d 897, 900 (2009).

       A. N.C. Gen. Stat. § 58-10-430(c)

¶ 11         The North Carolina Captive Insurance Act, contained within Article 10 of

       Chapter 58 of our North Carolina statutes, “establish[es] the procedures for the

       organization and regulation of the operations of captive insurance companies

       transacting insurance business within this State[.]” N.C. Gen. Stat. § 58-10-335(b)

       (2019). N.C. Gen. Stat. § 58-10-430 governs audits of captive insurance companies

       and provides, in relevant part:
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                    (a) Whenever the Commissioner determines it to be
                    prudent, the Commissioner shall audit a captive insurance
                    company’s affairs to ascertain its financial condition, its
                    ability to fulfill its obligations, and whether it has complied
                    with [N.C. Gen. Stat. §§ 58-10-335 through 58-10-655]. . . .

                    ....

                    (c) All audit reports, preliminary audit reports or results,
                    working papers, recorded information, documents, and
                    copies thereof produced by, obtained by, or disclosed to the
                    Commissioner or any other person in the course of an audit
                    made under this section are confidential, are not subject to
                    subpoena, and may not be made public by the
                    Commissioner or an employee or agent of the
                    Commissioner. Nothing in this subsection shall prevent
                    the Commissioner from using such information in
                    furtherance of the Commissioner’s regulatory authority
                    under this Chapter. The Commissioner shall have the
                    discretion to grant access to such information to public
                    officials having jurisdiction over the regulation of
                    insurance in any other state or country or to law
                    enforcement officers of this State or any other state or
                    agency of the federal government at any time only if the
                    officials receiving the information agree in writing to
                    maintain the confidentiality of the information in a
                    manner consistent with this subsection.

       Id. § 58-10-430 (2019) (emphasis added).

¶ 12         Contrary to the trial court’s finding, this statute’s provision that records “under

       this section are confidential, are not subject to subpoena, and may not be made public”

       essentially provides that “records can never be obtained from the [Department].”

       Additionally, this statute does not contain a provision that “specifically provide[s]

       that records requested . . . shall be provided ‘upon an order of a court of competent
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       jurisdiction[,]’” nor does this statute incorporate another statute in Chapter 58 that

       specifically requires disclosure upon court order.1            The trial court’s finding is

       erroneous.

¶ 13          The conclusion of law based on this finding that “[t]he records requested in

       Plaintiffs’ Subpoena may be produced under Chapter 58 of the North Carolina

       General Statutes ‘upon an order of a court of competent jurisdiction,’ notwithstanding

       assertions of statutory confidentiality by the [Department] or alleged statutory

       requirements that the information be kept confidential” is thus erroneous as applied

       to section 58-10-430.

¶ 14          According to the plain language of section 58-10-430, “[a]ll audit reports,

       preliminary audit reports or results, working papers, recorded information,

       documents, and copies thereof produced by, obtained by, or disclosed to the

       Commissioner or any other person in the course of an audit made under [section 58-




              1 Section 58-10-345, which sets forth procedures for an entity to apply to be licensed

       as a captive insurance company, does provide that, “[i]nformation submitted pursuant to this
       section is confidential and may be made public by the Commissioner or the Commissioner’s
       designee only upon an order of a court of competent jurisdiction[.]” N.C. Gen. Stat. § 58-10-
       345(f) (2019) (emphasis added). According to the plain language of this statute, only
       information submitted pursuant to N.C. Gen. Stat. § 58-10-345 may be made public “upon an
       order of a court of competent jurisdiction.” This provision is specifically incorporated by other
       sections of Chapter 58, but it does not serve as a blanket provision for all of Chapter 58. See
       N.C. Gen. Stat. § 58-10-405(b) (2019) (“All other captive insurance companies shall report on
       forms adopted by the Commissioner. [N.C. Gen. Stat.] 58-10-345(f) shall apply to each report
       filed pursuant to this section.”); N.C. Gen. Stat. § 58-10-415(c2) (2019) (“[N.C. Gen. Stat.] 58-
       10-345(f) shall apply to all information filed pursuant to this section.”).
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       10-430] are confidential, are not subject to subpoena, and may not be made public by

       the Commissioner or an employee or agent of the Commissioner.” N.C. Gen. Stat.

       § 58-10-430 (emphasis added). As “the language of the statute is clear and is not

       ambiguous, we must conclude that the legislature intended the statute to be

       implemented according to the plain meaning of its terms.” Hyler, 333 N.C. at 262,

       425 S.E.2d at 701 (citation omitted). Accordingly, we reverse the portion of the trial

       court’s order requiring the Department to “produce full and complete records to

       Plaintiffs’ counsel pursuant to Plaintiffs’ Subpoena and as ordered herein” with

       respect to documents and items that “are not subject to subpoena” pursuant to N.C.

       Gen. Stat. § 58-10-430.

       B. N.C. Gen. Stat. § 58-30-62
¶ 15          Under N.C. Gen. Stat. § 58-30-62, which applies to captive insurance

       companies licensed under the Captive Insurance Act,2 “[a]n insurer may be subject to

       administrative supervision by the Commissioner” if certain conditions arise. N.C.

       Gen. Stat. § 58-30-62(c) (2019). If the Commissioner determines administrative

       supervision is necessary, the Commissioner must notify the insurer that it is under

       the supervision of the Commissioner and give the insurer a written list of the



              2 Under N.C. Gen. Stat. § 58-10-475, governing supervision, rehabilitation, and
       liquidation of captive insurance companies, the terms and conditions set forth in Article 30
       of Section 58 shall apply in full, unless otherwise provided, to captive insurance companies
       licensed under the Captive Insurance Act. N.C. Gen. Stat. § 58-10-475 (2019).
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       requirements to abate the conditions which led to its supervision. Id. § 58-30-62(d).

                    (f) Notwithstanding any other provision of law and except
                    as set forth in this section, all proceedings, hearings,
                    notices, correspondence, reports, records, and other
                    information in the possession of the Commissioner or the
                    Department relating to the supervision of any insurer are
                    confidential. The Department shall have access to such
                    proceedings, hearings, notices, correspondence, reports,
                    records, or other information as permitted by the
                    Commissioner.       The Commissioner may open the
                    proceedings or hearings, or disclose the notices,
                    correspondence, reports, records, or information to a
                    department, agency or instrumentality of this or another
                    state of the United States if the Commissioner determines
                    that the disclosure is necessary or proper for the
                    enforcement of the laws of this or another state of the
                    United States.      The Commissioner may open the
                    proceedings or hearings or make public the notices,
                    correspondence, reports, records, or other information if
                    the Commissioner considers that it is in the best interest
                    of the insurer, its insureds or creditors, or the general
                    public. This section does not apply to hearings, notices,
                    correspondence, reports, records, or other information
                    obtained upon the appointment of a receiver for the insurer
                    by a court of competent jurisdiction.

       N.C. Gen. Stat. § 58-30-62 (emphasis added).

¶ 16         Contrary to the trial court’s finding, this statute contains no provision that

       “specifically provide[s] that records . . . shall be provided ‘upon an order of a court of

       competent jurisdiction’” and does not incorporate another section in Chapter 58 that

       specifically requires disclosure upon court order.3 However, unlike section 58-10-430



             3 See footnote 1.
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       and in accordance with the trial court’s finding of fact, this statute does not contain

       a provision that essentially provides that “records can never be obtained from the

       [Department]” in that section 58-30-62 does not explicitly state that the materials

       under this section “are not subject to subpoena.” Had the legislature intended for

       materials to be protected from subpoena, it could have explicitly done so as it did in

       section 58-10-430 and various other provisions of Chapter 58.4

¶ 17          The legislature established that the Commissioner “shall be a public office[,]”

       and its “records, reports, books and papers thereof on file therein shall be accessible

       to the inspection of the public[.]” N.C. Gen. Stat. § 58-2-100 (2019). Any exception to

       the public’s accessibility to otherwise public records should be construed narrowly.

       DTH Media Corp. v. Fult, 374 N.C. 292, 301, 841 S.E.2d. 251, 258 (2020) (quotation

       marks and citation omitted).

¶ 18          The Department cites no authority supporting the proposition that labeling

       materials confidential, without more, bars those materials from being produced upon

       an order of a court of competent jurisdiction.              Our courts routinely deal with

       confidential information and have the ability to ensure the information is not used

       improperly. See, i.e., N.C. Gen. Stat. § 1A-1, Rule 26(c) (2019) (allowing trial courts




              4 See N.C. Gen. Stat. §§ 58-2-132(f), 58-10-175(b), 58-10-430(c), 58-10-735(a), 58-10-

       780(a), 58-12-35(a), 58-19-40(a), 58-33-56(h), 58-58-50(j)(10), 58-58-268(c), 58-58-280(a), 58-
       71-115(c).
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       to seal depositions and filed court documents to be opened as directed by the court);

       N.C. Gen. Stat. § 1A-1, Rule 45(c)(2) (“Copies of hospital medical records tendered

       under this subdivision shall not be open to inspection or copied by any person, except

       to the parties to the case or proceedings and their attorneys in depositions, until

       ordered published by the judge at the time of the hearing or trial.”) N.C. Gen. Stat. §

       1A-1, Rule 45(c)(7) (“When a subpoena requires disclosure of a trade secret or other

       confidential research, development, or commercial information . . . the court may

       order a person to . . . produce the materials only on specified conditions stated in the

       order.”).

¶ 19          Essentially, the Department is asking this Court to add an additional provision

       to section 58-30-62 that materials under this section “are not subject to subpoena.” It

       is our duty to “give effect to the words actually used in a statute” and we cannot insert

       “words not used.” Watterson, 198 N.C. App. at 505, 679 S.E.2d at 900. The conclusion

       of law that “[t]he records requested in Plaintiffs’ Subpoena may be produced under

       Chapter 58 of the North Carolina General Statutes ‘upon an order of a court of

       competent jurisdiction,’ notwithstanding assertions of statutory confidentiality by the

       [Department] or alleged statutory requirements that the information be kept
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       confidential” is not erroneous.5

¶ 20          Accordingly, we affirm the portion of the trial court’s order requiring the

       Department to “produce full and complete records to Plaintiffs’ counsel pursuant to

       Plaintiffs’ Subpoena and as ordered herein” with respect to documents and items

       listed in N.C. Gen. Stat. § 58-30-62.

                                          V.     Conclusion

¶ 21          The trial court erred by ordering the disclosure of certain documents pursuant

       to N.C. Gen. Stat. § 58-10-430. The trial court did not err by ordering the disclosure

       of certain documents pursuant to N.C. Gen. Stat. § 58-30-62. We thus reverse the

       trial court’s order in part and remand for further proceedings consistent with this

       opinion.

              AFFIRMED IN PART, REVERSED AND REMANDED IN PART.

              Judges ARROWOOD and GORE concur.




              5 The Department asked the trial court to subject certain records “to a protective order

       issued by the Court maintaining the confidentiality of the information” in the event that the
       records were “reviewed by the Court or admitted as evidence[.]” The trial court did not rule
       upon that request.
